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                         EXHIBIT B
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  To Whom It may concern

  I'm writing this letter on behalf of Daniel Ball and his son. I have had the pleasure of
  knowing Daniel since birth. Because of this I feel I can attest to his character and provide
  my personal perspective of him as a father.

   I have watched Daniel grow up from a baby to a grown man. He is a kindhearted loving
  father to his special needs son. A man whose young son who loves him more than words
  can explain and needs him home in his daily life. Daniel’s son has had multiple
  conversations with me on how he misses his dad and has all these ideas on what he wants
  to do with his dad when he gets out (like for example work on his van, ride bikes, play
  outside and there favorite thing go kayaking). I hope this letter helps shine a light on the
  father Daniel Ball is.


  Sincerely
  K.L. Beck
